Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 1 of 31 PageID# 53177




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division

                                                                     OCT - Ll 2018
STEVES AND SONS, INC.,
                                                               CLERK. U.S. DISTRICT COURT
                                                                     RICHMOND VA
        Plaintiff,

v.                                       Civil Action No. 3:16cv545

JELD-WEN, INC.,

        Defendant.


                            MEMORANDUM OPINION


        This matter is before the Court on COUNTERCLAIM DEFENDANTS

STEVES AND SONS,      INC., AND EDWARD STEVES AND SAM STEVES' RENEWED

MOTION FOR JUDGMENT AS A MATTER OF LAW AGAINST JELD-WEN,                   INC.

(ECF No.     1627),   and INTERVENOR JOHN G.     PIERCE'S RENEWED MOTION

FOR JUDGMENT AS A MATTER OF LAW AGAINST JELD-WEN,            INC.    (ECF No.

1629)     ( "the Renewed Motions"). 1 These motions are addressed to

the trade secret counterclaims brought by JELD-WEN,           Inc.     ("JELD-

WEN") . For the reasons set forth below,         COUNTERCLAIM DEFENDANTS


1
   Both motions incorporate by reference the papers filed in
support of: (1) the motions for judgment as a matter of law
filed by Edward Steves and Sam Steves ( "the Steves Brothers")
and by John Pierce ("Pierce"; with the Steves Brothers, ''the
Intervenors") before trial began, ECF Nos. 1522, 1524; and ( 2)
the motions for judgment as a matter of law filed by Steves and
Sons, Inc. ("Steves"; with the Intervenors, "the Counterclaim
Defendants") and the Steves Brothers, and by Pierce, after the
close of evidence, ECF Nos. 1571, 1576. Consequently, those
earlier motions will be denied as moot.
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 2 of 31 PageID# 53178




STEVES AND SONS, INC., AND EDWARD STEVES AND SAM STEVES' RENEWED

MOTION FOR JUDGMENT AS A MATTER OF LAW AGAINST JELD-WEN,                                INC.

(ECF No. 1627) will be granted in part and denied in part; and

INTERVENOR JOHN G.        PIERCE'S RENEWED MOTION FOR JUDGMENT AS A

MATTER OF LAW AGAINST JELD-WEN,                  INC.        (ECF No.    1629)    will    be

granted in part and denied in part.


A.    PROCEDURAL STATUS OF MOTIONS

      Before addressing the motions,                it is necessary to sort out

an irregularity in each of them.                    The movants in COUNTERCLAIM

DEFENDANTS    STEVES    AND     SONS,     INC. ,       AND    EDWARD    STEVES    AND    SAM

STEVES'   RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW AGAINST

JELD-WEN,    INC.      (ECF   No.       1627)      are       Steves     and    Sons,    Inc.

("Steves")    and Sam Steves and Edward Steves.                           The movant      in

INTERVENOR JOHN G.        PIERCE'S RENEWED MOTION FOR JUDGMENT AS A

MATTER OF LAW AGAINST JELD-WEN,                 INC.     (ECF No.      1629)    is John G.

Pierce.

      Both   motions     (ECF    Nos.     1627      and       1629)    relate    to    trade

secrets counterclaims filed by JELD-WEN.                         Steves was the only

defendant named in JELD-WEN's counterclaims.                          Sam Steves, Edward

Steves and John G. Pierce later intervened as defendants to the

counterclaims.      Those three individuals will be referred to as

the "Intervenors."




                                            2
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 3 of 31 PageID# 53179




      Both motions        (ECF Nos. 1627 and 1629) seek judgment on the

theory that JELD-WEN' s damages case was inadequate as a matter

of law.     However,      because no damages were assessed against the

Intervenors,     the only defendant that can get relief under that

theory is Steves.          Thus,   the Intervenors are not implicated in

JELD-WEN' s damage award and cannot attack it.               In both motions,

the Intervenors      (Sam and Edward Steves in ECF No. 1627 and John

G.   Pierce in ECF No.          1629)    seek judgment because JELD-WEN did

not pursue the counterclaims against them.


B.    SUMMARY OF FACTUAL AND PROCEDURAL BACKGROUND

      The    factual      and    procedural     background   underlying   this

dispute has been addressed in detail               in the    Court's previous

summary judgment opinions.              See First Summary Judgment Op.    (ECF

No. 1424) at 2-16; Second Summary Judgment Op.               (ECF No. 1581) at

2-3. Thus,     it is necessary only to provide a brief outline for

context.

      Steves   is    an    independent manufacturer of        interior molded

doors, and it relies primarily on JELD-WEN to supply it with the

deerskins needed to make            the doors.    To that end,    the parties

entered into a long-term deerskin supply agreement in 2012                ("the

Supply Agreement"). First Summary Judgment Op. at 2.

      In 2016,      Steves filed an action against JELD-WEN, alleging

a federal antitrust claim,              breach of contract claims and other


                                           3
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 4 of 31 PageID# 53180




claims.     During discovery in that action,              JELD-WEN discovered

evidence that,     in 2015 and 2016, Steves,         through Sam and Edward

Steves, worked with Pierce and John Ambruz-both former JELD-WEN

employees-to obtain information from JELD-WEN                    that    would help

Steves:    (1) to verify the accuracy of JELD-WEN's key input costs

for doorskins that it manufactured,            which the Supply Agreement

required JELD-WEN to provide        to Steves;       and    (2}     to develop a

doorskin manufacturing plant.         See    id.    at   3- 7.    Based on       that

evidence,    JELD-WEN   asserted   counterclaims         against        Steves   for,

inter alia, misappropriation of trade secrets under the federal

Defend Trade Secrets Act        ( "DTSA")    and the Texas Uniform Trade

Secrets Act ("TUTSA"). Id. at 8.            Steves' antitrust and contract

claims were tried to a jury in January 2018.                     JELD-WEN' s trade

secret counterclaims were tried to a jury in May 2018.


C.    THE RECORD RELATED TO THE DAMAGES ISSUE ASSESSED BY STEVES

      In    its   counterclaims,   JELD-WEN        sought    damages       for    the

alleged trade secret misappropriation. 2 The request for damages

was based on the testimony of JELD-WEN' s                damages expert,         John

Jarosz     ("Jarosz") , who calculated damages under three different



2
   JELD-WEN also sought injunctive relief. The request for
injunctive relief is the subject of COUNTERCLAIMANT JELD-WEN,
INC. ' S MOTION FOR PERMANENT INJUNCTION AGAINST COUNTERDEFENDANT
STEVES & SONS, INC. (ECF No. 1631) in which further briefing has
been scheduled. That issue is not addressed in this Memorandum
Opinion.
                                      4
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 5 of 31 PageID# 53181




scenarios. The first two measured:                  (1) unjust enrichment damages

based on Steves' use of certain process-related trade secrets to

achieve    reduced costs        for manufacturing doorskins                    in     its   own

hypothetical       doorskin     plant       ( "Scenario    One");        and    (2)    unjust

enrichment damages         based on Steves'            use    of    certain financial

trade    secrets    in negotiations           for    lower doorskin prices with

JELD-WEN    or     other   doorskin         suppliers        ("Scenario        Two").       See

Second Summary Judgment Op. at 8-9; May 4 Trial Tr. at 1423:11-

1424:19. The third scenario computed reasonable royalty damages

by combining two quantitative methods,                    the incremental benefits

approach     and     the   licensing          comparables       approach         ( "Scenario

Three") . See Second Summary Judgment Op.                     at 9-11;         May 4 Trial

Tr. at 1426:2-24, 1449:6-17.

        At trial, the jury was presented with a list of sixty-seven

alleged     trade     secrets        that     JELD-WEN     claimed        to    have        been

misappropriated. Jarosz testified that Scenario One was based on

his      quantification         of      the       benefits         provided           by     the

misappropriation of trade secrets 4, 26, 27, and 47. May 4 Trial

Tr. at 1432:17-1433-9. Of those four alleged trade secrets, only

alleged trade secret 4 7 was found to be trade secrets by the

jury.

        Jarosz     testified     that       Scenario      Two      was    based        on    the

benefits derived from trade secrets 36 to 38 and 44 to 52,                                   id.

at 1437:13-1438:3. Of those thirteen alleged trade secrets, only

                                              5
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 6 of 31 PageID# 53182




alleged trade secrets 46 and 47 were found by the jury to be a

trade secret.

       Scenario         Three,           in     contrast,         reflected          Jarosz's

construction of a            hypothetical negotiation between Steves and

JELD-WEN for Steves'              use of all of the trade secrets asserted.

See id. at 1448:3-1449:5. According to Jarosz,                          the royalty rate

ranges      under           the      incremental          benefits         approach-which

incorporated Scenario One and Two's figures-were 2. 8 %' to 13 . 4 %'

and 4.6%' to 6%',        respectively. See id. at 1449:20-1450:8. Jarosz

then    compared      the      hypothetical          license     that   would      have     been

negotiated       in     this      case    to    other     licenses      for    the     use    of

intellectual property ("IP") , which had a royalty rate range of

2.5%    to 10%'.      See    id.    at    1451:6-1454:18.         He    testified      that    a

royalty rate under those comparable licenses would not "change[]

with the size of the portfolio of IP"; that is, it would "stay[]

the    same"     even    " [i) f    the       portfolio    got    larger      or     smaller,"

because "what was being paid was access to a business. And it

didn't      matter          precisely          what     the       components         of      the

IP . . . were." Id. at 1455:1-10. Judging those ranges in light

of     certain     qualitative           factors,      Jarosz     determined         that    the

"correct" royalty rate for the hypothetical negotiation here was

3%. See id. at 1455:18-1461:4. He then multiplied that rate by

the assumed selling price of doorskins manufactured by Steves

with the license and the volume of production over a ten-year

                                                 6
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 7 of 31 PageID# 53183




period,       and discounted the result to present value,                                 yielding a

lump-sum reasonable royalty of $9.9 million. Id. at 1461:5-11.

      After considering the evidence, the jury determined that only

eight of the sixty-seven alleged trade secrets                                   (Nos.    9,    10, 11,

23,    31,    46,    47,    and 59)    constituted trade secrets. See Verdict

Form (ECF No. 1609). It then concluded that, for the DTSA claim,

seven trade secrets                (all except 59)             had been misappropriated,

and     that        such     misappropriation                 was      neither       willful          nor

malicious.          See    id.    at   6-7,       14,    18,     27,       34.    Then,        the    jury

determined          that    JELD-WEN        was     entitled          to    an    award        of    $1.2

million as a reasonable royalty for those eight secrets. Id. at

40.    The only difference as to the TUTSA claim was the                                            jury's

finding       that        trade    secret     59        had    been     misappropriated               (but

neither willfully nor maliciously). See id. at 46-47, 54, 58-59,

67-68, 74-75. As a result,                   the jury's TUTSA and DTSA reasonable

royalty awards were identical. See id. at 80.


D.      THE MOTIONS FOR JUDGMENT AS A MATTER OF LAW FILED BY STEVES
        AND THE INTERVENORS

       Steves and the Intervenors all moved for judgment as a matter

of law before the case was submitted to the jury. See Fed. R.

Civ.     P.    SO {a) (2).        However,    the        Court      did     not    rule        on    those

motions,       which        presented        several          disputed       issues       that        were

eliminated or materially affected by the jury's verdict. Because

the Counterclaim Defendants have now timely filed the Renewed

                                                   7
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 8 of 31 PageID# 53184




Motions,       the Court must rule on those motions                                instead of the

earlier ones.          See Fed.     R.    Ci v.     P.    SO   {b) .        The Renewed Motions

rest entirely on the same two arguments.                                    See Steves      &   Steves

Bros.    Mem.       (ECF No.      1628)    at       1    n.2        ("Steves       and    the   Steves

Brothers       do      not   renew       any      other            argument        made    in    their

[original]       Rule so (a) motions."); Pierce Mem.                           (ECF No. 1630) at

1 n. 2 (same) .

      First,     the    Intervenors assert                that       they should be granted

judgment as a matter of law because JELD-WEN did not amend the

counterclaims to seek judgment against                               them;     JELD-WEN did not

identify in the Final Pretrial Order any triable issues as to

them;    and JELD-WEN          did not         tender          a    verdict        form   requesting

judgment against them.             This theory does not implicate Steves.

      Second, Steves argues that,                   because under Scenario Three of

the     damage      calculations,         Jarosz         determined           reasonable        royalty

damages     collectively,          based       on        the       existence       of     sixty-seven

trade secrets, and because the jury found that only eight of the

alleged sixty-seven trade secrets were misappropriated, Jarosz's

collective          valuation     did      not        provide          an    adequate      basis       to

determine a reasonable royalty for the only eight trade secrets

as to which a damage award could be made.                                    As explained above,

the theory is not available to the Intervenors even though they

have     advanced       it   as   an     alternative               basis     for    judgment      as    a

matter of law.

                                                  8
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 9 of 31 PageID# 53185




                                              DISCUSSION

I.      Legal Standard

        A court may grant judgment as a matter of law against a

party on a claim if the party "has been fully heard on an issue"

at trial and "the court finds that a reasonable jury would not

have    a    legally         sufficient        evidentiary basis                to    find    for    the

party on that issue," assuming that a "favorable finding on that

issue" is necessary for the party to prevail on the claim. Fed.

R.   Civ.     P.       50{a){l).    Thus,       "[j)udgment as a matter of law 'is

properly granted if the nonmoving party failed to make a showing

on an essential element of his case with respect to which he had

the burden of proof. '"                  Russell v.             Absolute Collection Servs. ,

Inc.,       763    F.3d 385,       391        (4th Cir.         2014)     (quoting Wheatley v.

Wicomico Cty., 390 F.3d 328, 332                           (4th Cir. 2004)). However,                 the

court must "view[] the evidence in a light most favorable to the

non-moving          party      (and      in   support          of   the   jury's       verdict)      and

draw[]       every legitimate             inference            in that party's             favor,"   and

judgment          as    a    matter      of    law        is    proper    only        if    "the     only

conclusion a reasonable jury could have reached is one in favor

of   the moving party."                  Int' 1 Ground Transp.              v.       Mayor of Ocean

City,       475 F.3d 214,          218    (4th Cir. 2007).                Judgment as a matter

of law may be entered on "purely legal issues unrelated to the

sufficiency             of   the   evidence          at        trial."      9    Moore's       Federal

Practice,          § 50.05[3]       (Matthew Bender 3d Ed.); K&T Enters.,                            Inc.

                                                     9
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 10 of 31 PageID# 53186




v. Zurich Ins. Co., 97 F.3d 171, 175 (6th Cir. 1996}; Chesapeake

Paper Prod.       Co.    v.   Stone    &   Webster Eng'g Corp.,          51 F.3d 1229,

1236 (4th Cir. 1995}.

II.     Claims Against Intervenors: Consequences of Intervention

        The Intervenors        contend that         judgment as a        matter of law

must be entered in their favor on the DTSA and TUTSA claims 3

because JELD-WEN did not               identify in the           Final Pretrial Order

any triable issues as             to them;         and JELD-WEN did not tender a

verdict form requesting judgment against them.                          This contention

 requires a close look at the history of the case, an examination

of     the    Intervenors'     involvement in this action,               and the       legal

principles that apply to intervention.

        The    case began when Steves              filed claims against JELD-WEN

 for violation of the Clayton Act,                      for breach of contract,          and

 several      other     claims,   as       well    as    a   request   for   declaratory

 relief. 4      During discovery in the case brought by Steves, JELD-

 WEN    found    evidence      that    Steves,          Edward   and   Sam   Steves,     and




 3
    Sam and Edward Steves also intervened as         Counterclaim
 Defendants to JELD-WEN's tortious interference counterclaims,
 see ECF No. 833 at 6. The Court granted summary judgment on
 those counterclaims as against Steves, ECF No. 1290, eliminating
 any interest Sam and Edward Steves may have had in those
 counterclaims.
 4
    Except for the antitrust claims, the claims for breach of
 contract, and the request for declaratory relief, all other
 claims made by Steves have been removed from the case for
 various reasons not here pertinent.
                                              10
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 11 of 31 PageID# 53187



Pierce had misappropriated some of JELD-WEN trade secrets.                                     So

JELD-WEN filed the trade secrets Counterclaim. 5                               The only named

Counterclaim Defendant was Steves even though the text of the

Counterclaims        named       Sam and     Edward Steves             and     Pierce    as   the

misappropriating           individuals           and      outlined          their    allegedly

culpable    conduct         in     great    detail.              In    fact,     without      the

allegations pertaining to the conduct of Sam and Edward Steves

and Pierce, the trade secrets counterclaims would not have been

viable or plausible.

        Steves sought transfer of the Counterclaims to Texas where

all defendants were amenable to in personam jurisdiction.                                   JELD-

WEN opposed transfer.              The Court agreed with JELD-WEN and kept

the Counterclaims in this Court                       (ECF No.    240).        However,     after

JELD-WEN received some adverse rulings in this Court, it filed a

case in Texas alleging the same trade secrets violations that

were    asserted      in    JELD-WEN's       Counterclaims             in     this   case     (the

"Texas    Case") .         Then,    in     furtherance       of       its    forum   shopping,

JELD-WEN     moved         voluntarily           to     dismiss        its      trade     secret

Counterclaims in this case with a                        view to pursuing the Texas

Case.      Because     this        case    was    already        set    for     trial,    Steves

opposed that motion and the Court denied it (ECF No. 579).



5
  JELD-WEN's other counterclaims were dismissed for reasons not
relevant here.

                                                 11
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 12 of 31 PageID# 53188



      The    Intervenors moved to              intervene          in this       case       in late

November      2017,     after       the   Court     had     denied      JELD-WEN's          motion

voluntarily to dismiss its Counterclaims.                          On January 18,            2018,

the   Court       granted     the    Intervenors'          motions       to     intervene      and

required the Intervenors to file answers to the Counterclaims.

Also, JELD-WEN was allowed to amend its Counterclaims by January

31.   ECF    No.      832.    Although      the     Intervenors          immediately         filed

their     answers,      ECF     Nos.      837-38,        JELD-WEN       never    amended       its

Counterclaims. And, aside from an issue that was resolved at the

beginning of          trial     by a      motion    in     limine, 6     JELD-WEN did not

 identify in the         Final       Pretrial Order any triable                   issues       that

specifically pertained               to    liability       of     the    Intervenors,          even

 though     its    identified       factual       and     legal    issues       as    to    Steves

cited extensively the conduct of                     the     Intervenors.            Indeed,    all

 identified       factual     contentions          and    triable       issues       related     to

 Steves. See ECF No. 1586-11 at 2-3; ECF No. 1586-12 at 3-4.

        Based on the fact that JELD-WEN had identified no triable

 issues against         them,    the      Intervenors moved for                 judgment as a

 matter of        law immediately before                trial began.            Those motions



 6
    JELD-WEN posed as a triable issue "[w] hether John Pierce
 spoliated relevant evidence when he had a duty to preserve
 evidence because he reasonably expected future litigation. 11 ECF
 No. 1586-11 at 3. However, the Court denied JELD-WEN's motion
 for spoliation sanctions, see ECF No. 1536, and JELD-WEN did not
 raise the issue at trial.

                                              12
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 13 of 31 PageID# 53189




came on the eve of trial and they were not decided before trial

began.         Thus,        the    Intervenors    participated             at    trial    without

prejudice to their request for such relief.                           See ECF Nos.             1522,

1524; Apr. 30 Trial Tr. at 126:24-127:14.

        At trial, virtually all of the evidence presented by JELD-

WEN about the misappropriation of its alleged trade secrets was

about     the    conduct          of,   and actions         taken    by,        Edward   and     Sam

Steves and Pierce. 7                 JELD-WEN could not have prevailed on any

 trade     secret       misappropriation              without       that        proof    because,

according to JELD-WEN, the conduct of the Intervenors was at the

 core of the misappropriation.                   When, after the evidence was in,

 it came time to tender jury instructions and a proposed verdict

 form    so that       the        jury could render          judgment against culpable

 parties,       JELD-WEN          offered   no   instructions          pertaining          to    the

 liability       of    the        Intervenors    and       JELD-WEN's       proposed verdict

 form did not call upon the jury to find the Intervenors liable.

         The    Intervenors          contended    then,       and    reiterate          now,    that

 judgment as a matter of law is appropriate because JELD-WEN did

 not     amend        its     Counterclaims           to    seek     relief        against       the

 Intervenors;         that JELD-WEN did not identify any triable issues




 7
   There was some testimony attributing some misappropriation to
 John Ambruz, a non-party here, but a party in the Texas case.
                                                 13
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 14 of 31 PageID# 53190




against the Intervenors; 8 that JELD-WEN did not attempt to modify

the Final Pretrial Order to do so even though this allegedly

fatal omission had been brought to their attention;                             that JELD-

WEN    tendered neither        instruction nor a              proposed verdict           form

that would allow for a finding of liability;                         and that JELD-WEN

agreed to a        verdict    form    that allowed the              resolution of         its

trade     secrets     Counterclaims          without          judgment       against      the

Intervenors. See Fed. R. Civ. P.               (16) (e).

        JELD-WEN's response is simple. It plainly concedes that it

never amended its Counterclaims nor raised any triable issues

against,    nor sought judgment against,                the Intervenors. However,

JELD-WEN argues that this reality makes judgment as a matter of

law     entirely    inappropriate       because        Rule     SO (a),   by     its    plain

text,    only permits        judgment as a          matter of        law on "claim[s]"

that a party has asserted.              Fed.      R.   Civ.    P.   S0(a) (1) (B).      Then,

says    JELD-WEN,    because     it    has     alleged no           claims     against    the

Intervenors,       there is simply nothing on which the Court could

enter judgment.

        These   arguments      must     be        viewed      against     several       basic

principles      applicable     to     intervention.            First,     it    is     settled

that "an intervenor must generally                     'take the case as he finds


8
  The Intervenors correctly point out that such failures normally
operate as a waiver of a party's right to have the omitted issue
tried. See McLean Contracting Co. v. Waterman Steamship Corp.,
277 F.3d 477, 480 (4th Cir. 2002).
                                             14
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 15 of 31 PageID# 53191




it. ' " Liberty Mut. Fire Ins. , 314 F. R. D. at 18 7 ( quoting Newport

News    Shipbuilding        &     Drydock,            646     F.2d        at    122)     and      that

intervenors       "cannot        change      the        issues        framed        between        the

original parties, and must join subject to the proceedings that

have occurred prior to             [their]        intervention." Wright                  &   Miller,

supra, § 1920 (internal quotations omitted).

       Second,    there     is no dispute that,                     having intervened,             the

Intervenors       are      parties        (Counterclaim               Defendants)            to    the

litigation.      And,     that    status     carries          consequences because,                  in

that posture,        the Intervenors can,                   depending on the particular

circumstances:         participate in discovery,                    see Liberty Mut.              Fire

 Ins. Co. v. Lumber Liquidators,                  Inc., 314 F.R.D. 180, 187                       (E.D.

Va.    2016);    appeal     judgments that may be adverse to them,                                 see

Newport       News       Shipbuilding         &        Drydock            Co.     v.     Peninsula

Shipbuilders'          Ass'n,    646   F.2d       117,        123     (4th      Cir.     1981);      or

 demand   a     jury    trial     on   any    legal          issues        they    present,         see

 Campbell v.      Plank,    133 F.R.D.        175,          176     (D.    Kan.    1990)      (citing

 Ross v. Bernard, 396 U.S. 531, 541 n.15 (1970)).

       Third,    it is settled that,                  "[u] nless conditions have been

 imposed, the intervenor is treated as if the intervenor were an

 original     party."      7C    Charles     Alan Wright              &    Arthur      R.     Miller,

 Federal Practice and Procedure                   §    1920       (3d ed.       1998);       see also

 League of United Latin Am.                Citizens v.              Wilson,       131 F. 3d 1297,

 1304 (9th Cir. 1997); Alvarado v. J.C. Penney Co., 997 F.2d 803,

                                              15
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 16 of 31 PageID# 53192



805 (10th Cir. 1993); Brown v. Demeo, Inc., 792 F.2d 478, 480-81

 (5th Cir.    1986);       Schneider v.      Dumbarton Developers,      Inc.,   767

F.2d 1007, 1017 (D.C. Cir. 1985) . 9 The only conditions imposed on

 intervention were that the trial would not be postponed and the

Intervenors could not              reopen discovery.       (Memorandum Opinion,

ECF No.      833).    There    were      no conditions    that   would limit     the

 Intervenors' exposure to liability on the trade secret claims.

      Fourth,    intervenors can "litigate fully on the merits once

 intervention        has    been    granted."     Id.   Similarly,    courts    have

 recognized that,          " [b] y successfully intervening, .           part [ies]

 make[]         [them] sel [ves]             vulnerable          to       complete

 adjudication . . . of             the   issues   in    litigation    between    the



 9
   It is worth noting that almost all of the cases cited by Wright
 and Miller in support of that general proposition concerned
 intervention as of right, not permissive intervention. See
 Wilson, 131 F.3d at 1302; Alvarado, 997 F.2d at 804; Schneid~
 767 F.2d at 1017; District of Columbia v. Merit Sys. Prot. Bd.,
 762 F.2d 129, 132 (D.C. Cir. 1985); Donovan v. Oil, Chem., &
 Atomic Workers Int'l Union & Its Local 4-23, 718 F.2d 1341, 1350
 (5th Cir. 1983); United States v. Oregon, 657 F. 2d 1009, 1014
 (9th Cir. 1981); Campbell, 133 F.R.D. at 176; Sec. Indus. Ass'n
 v. Bd. of Governors of Fed. Reserve Sys., 628 F. Supp. 1438,
 1440 (D.D.C. 1986). This makes sense, because the stricter
 requirements of Rule 24 (a) show that intervenors as of right
 usually have a      more  substantial  interest at    stake   than
 permissive intervenors. However, other courts have extended the
 principle to permissive intervention, and neither Rule 24 nor
 Wright and Miller distinguish between the rights of mandatory
 and permissive intervenors. See Ecee, Inc. v. Fed. Energy
 Regulatory Comm'n, 645 F.2d 339, 351 (5th Cir. 1981); Conseco v.
 Wells Fargo Fin. Leasing, Inc., 204 F. Supp. 2d 1186, 1193 (S.D.
 Iowa 2002). Thus, the Court will assume for the sake of the
 Intervenors' argument that this broad statement applies here.
                                            16
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 17 of 31 PageID# 53193




intervenor and the adverse party." Merit Sys.,                          762 F.2d at 132

 (emphasis      added).       Likewise,        it     has      been     held        that,     if

intervenor-defendants              file     answers    or      motions,      or     otherwise

participate in a case, plaintiffs can seek to hold them liable

in   the      same    way   as     normal     defendants,          whether     or    not     the

plaintiff       amends      the      complaint        to    seek      such    relief.        See

Schneider,      767 F.2d at 1017             ("As an intervenor,             the defendant

 subjected      itself        to      the    plaintiff's           claims    against         the

 [original]      defendant,         notwithstanding         plaintiff's           failure      to

amend his complaint to include reference to                          [the intervenor] . ")

 (emphasis added); Merit Sys.,                762 F.2d at 132          (where intervenor

 "filed a      substantial motion to dismiss and assumed an active

 role in defending his interests in the underlying controversy,"

 plaintiff could "obtain relief against the intervenor-defendant

 even    if    the    original        defendant        [wa]s       eliminated       from     the

 lawsuit"} ; Ctr.       for Envtl. Sci. Accuracy               &   Reliability v. Nat' 1

 Park Serv., No.         114CV02063LJOMJS,          2016 WL 4524758,            at *9       (E.D.

 Cal. Aug.      29,   2016)      (plaintiffs'       "failure to name            [intervenor]

 in an amended complaint               [w] as not fatal"           to plaintiffs'           claim

 where      intervenor        filed       answer    addressing         claim)        (emphasis

 added) .       Indeed,       that        potential    exposure        is    "the      'price'

 of . . . intervention"            as a defendant.          Merit Sys.,         762 F. 2d at

 132 (emphasis added).



                                               17
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 18 of 31 PageID# 53194




         Finally,        intervenor-defendants            can      also      force       the

resolution        of     certain    issues.      In   Alvarado,       for   example,     two

manufacturers            intervened       as     defendants      to     disclaim       their

liability to both the plaintiff and their co-defendant,                                which

could         possibly    assert     an    indemnification        claim      against     the

manufacturers          in the      future.      The   court af finned       the grant of

summary judgment in favor of the manufacturers as against the

plaintiff and co-defendant, even though the co-defendant had not

asserted any claim against the manufacturers, reasoning that the

manufacturers          had    clearly      raised     adverse    issues     against     both

parties . See Al varado,            9 9 7 F . 2d at 8 o5 ( " [W] here the intervenor

claims an interest adverse to both plaintiff and defendant he or

she      is    entitled to      have      the   issues   raised       thereby tried and

determined." (internal quotations omitted)).

         The Intervenors argue that they are in the same position as

 the     intervenor-defendants             in   Alvarado,       Schneider,     and     Merit

Systems,        but they are not in exactly the same posture as the

 intervenor-defendants in those cases.                      In Schneider and Merit

Systems,        the plaintiffs made concerted efforts to assert their

claims or obtain a              judgment against the intervenor-defendants,

who were trying to use their position as intervenors to avoid

 liability.       Here,      JELD-WEN did not          amend    its    Counterclaims      to

name the         Intervenors as defendants or to seek relief against

 them.

                                                18
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 19 of 31 PageID# 53195




        Alvarado is not on point either. Once the manufacturers in

that case intervened,              they could "make their claims known"                        to

the other parties. Alvarado,                997 F.2d at 805. Through an answer

and a motion for summary judgment,                      "the manufacturers did just

that, requesting a declaratory judgment of sorts to resolve the

ultimate       issue    [in   the    case]    as    a    basis     for    liability."         Id.

That was not what happened here.

        However, the Intervenors' motion is not disposed of because

 it differs from Alvarado, Schneider, and Merit Systems in those

ways.      The critical            principle here        is    that      JELD-WEN,       in its

 Counterclaims and in its evidence at trial, made this case about

 the conduct of the Intervenors.                    In so doing and by virtue of

 the intervention,          the Intervenors were exposed to judgment even

 though JELD-WEN failed to amend the counterclaim to specifically

 name them as defendants.              Schneider, 767 F.2d at 1017; Ctr. for

 Envtl. Sci. Accuracy          &    Reliability, at *9.            That is the price of

 intervention.         Merit Sys., 762 F.3d at 132.

        This    case     is     governed       by       the    principle         that,        once

 intervention is allowed,             the Intervenor is a full party to the

 case and once a party intervenes as a defendant,                            it is exposed

 to     liability      on     the     plaintiff's         claims         (here    JELD-WEN' s

 Counterclaims)        even    if     the    complaint        or   counterclaim          is    not

 amended to name the intervenor as a defendant.                            Because that is

 so,    the plaintiff         (counterclaim plaintiff)              is able to recover

                                              19
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 20 of 31 PageID# 53196




from the Intervenor if the claim is proven by evidence and the

 jury    is    asked    to    return      a    verdict     against       the    intervening

defendant.

        The consequences of failing to identify a triable issue, or

 to seek a verdict,           against the Intervenors rests on JELD-WEN.

That is because, by virtue of the intervention,                           the claims are

 asserted against the Intervenors by operation of law.                                That is

 the    teaching of Schneider and Merit Systems.                         The     failure of

 JELD-WEN to comply with Rule 16(e} or to ask the jury to assess

 liability operates to relieve the Intervenors of liability just

 as would be the case if the plaintiff had identified no triable

 issues, or had not sought judgment, against a named defendant.

        JELD-WEN       asserts     that       it     did   not    need     to    amend    its

 Counterclaims         to     include         the    Intervenors      as        Counterclaim

 Defendants under the principles that:                     ( 1)   the Intervenors must

 take the case as they find it; and (2) JELD-WEN is master of its

 claims.       But that       theory elevates          form over substance and it

 puts more weight on those two precepts than they can carry.

        It is true that, here, the Intervenors found a counterclaim

 that did not name            them as defendants,            but    they also found a

 counterclaim      that       charged     them,       specifically       and     in   graphic

 detail,      with committing the acts of misappropriation that were

 the gravamen of            the   Counterclaims.           The    Intervenors asked to

 intervene so that they could defend against those charges.                              They

                                                20
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 21 of 31 PageID# 53197



were    allowed        to     do     that.          And,    thereafter,        they       fully

participated in the pretrial and trial proceedings.                             And, under

the    law,    in so doing,          they exposed themselves to                judgment on

both the DTSA and the TUTSA claims.                        Having done that, they are

now told by JELD-WEN that their effort was for naught because

you must take the case as you find it and we are the masters of

our Counterclaims.

       That position actually sets at naught the legal system that

allows intervention of the decision allowing intervention,                                  and

all    of     the    other principles         that     apply    when      intervention       is

allowed. If accepted, that position would result in the waste of

judicial       resources       and    sanction       the     needless      duplication       of

litigation.            For   example,        under    JELD-WEN's        "mastery      of    its

pleading" and "take the case as you find it"                              theory,   JELD-WEN

can litigate against the Intervenors in the Texas Case the exact

same misappropriation of all                  the     trade    secrets      that    the    jury

found not           to be    trade    secrets.         That    is   the    consequence of

adopting JELD-WEN's theories here.                     That,    of course, would mean

another multi-week trial               involving the          same evidence that the

jury heard here.             And,    it would give JELD-WEN another bite at

the apple as to the alleged trade secrets that the jury in this

case found not to be trade secrets at all.




                                               21
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 22 of 31 PageID# 53198



         It    is,    of   course,   possible that a         finding of   collateral

estoppel could {and should)               foreclose that result in the Texas

Case .        But,    because this matter has been dee ided by a             jury in

this case,           there is no warrant to subject the parties,              or the

courts, to any further trial preparation or trial on issues that

were fully tried and decided in this case.                      Moreover,   a second

trial is not legally appropriate because Sam and Edward Steves

and Pierce intervened in this case as defendants,                        participated

in the trial in which their conduct was the linchpin of the case

against Steves, and,             by operation of law,        exposed themselves to

judgment on JELD-WEN's DTSA and TUTSA claims, and JELD-WEN chose

not to ask the jury to adjudicate the claims.

         That,       of    course,   is   the    consequence    of   JELD-WEN's   own

decision not to add the Intervenors as Counterclaim Defendants,

not to identify any triable issues against them, and not to ask

the      jury to find them liable and award damages against them.

Those         were    deliberate     choices     made   by   JELD-WEN.    Under   this

 record,       JELD-WEN must bear the consequences of its choices and

 the Intervenors are entitled to judgment as a matter of law on

 the DTSA and the TUTSA counterclaims.




                                                22
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 23 of 31 PageID# 53199




III. The Attack on DTSA and TUTSA Damages Award Against Steves
        and Sons, Inc . 10

        JELD-WEN        satisfies     '' its   burden       of     proving     damages       by

showing        the   misappropriation,"         and       "the    subsequent        commercial

use," and by "introduc[ing] evidence by which the jury can value

the rights the defendant has obtained." Univ.                             Computing Co.      v.

Lykes-Youngstown Corp.,             504 F.2d 518,           545    {5th Cir.    1974); see

also sw. Energy Prod. Co. v. Berry-Helfand, 491 S.W.3d 699, 711-

12     (Tex.    2016)    ( "The fact finder must have sufficient evidence

to determine the value a reasonably prudent investor would pay

for the trade secret,             and to meet that standard,                 the plaintiff

need only demonstrate the extent of damages as a matter of just

and     reasonable        inference,      even       if     the    extent      is     only   an

approximation."           {internal      citations        and     quotations        omitted)).

Thus,     to obtain judgment as a               matter of          law on the DTSA and

TUTSA reasonable royalty claims, Steves must show that JELD-WEN

did not provide sufficient evidence for the jury to reach its

 $1.2 million award for reasonable royalty.

        Steves'       assertions about Jarosz' s              collective valuation of

 the    trade        secrets    essentially         restate       Steves'    corresponding

 argument in its motion for summary judgment. Notwithstanding the

 decision        denying       summary     judgment         on     that     basis,      Steves


 10
    Because the motions for judgment as a matter of law will be
 granted in favor of the Intervenors, this issue now pertains
 only to Steves.
                                               23
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 24 of 31 PageID# 53200



reiterates that Scenario Three should not have been presented to

the jury because Jarosz calculated those damages while including

sixteen alleged trade secrets that JELD-WEN later chose not to

assert     as    trade      secrets.       Moreover,            says    Steves,     the        concerns

raised at the summary judgment stage are heightened here because

the      jury      found          that      only         eight          trade     secrets          were

misappropriated-far fewer than the sixty-seven on which Jarosz

based his figures.

         Before addressing these contentions,                           the Court must first

consider         whether          Steves       waived          any      collective         valuation

challenge by failing to raise it in their original Rule so (a}

motions.        JELD-WEN is         correct        that,       generally,        "[a]     post-trial

motion for judgment can be granted only on grounds advanced in

the      pre-verdict         motion."          Fed.      R.      Civ.     P.     so (b}        advisory

committee's note to 1991 amendment; see also Nichols v. Ashland

Hosp.     Corp.,      251 F.3d 496,            501 n.1          (4th Cir.       2001}     (" [A]   Rule

 SO(b}     motion      may    only        be    made       as     a     renewal     of     a     motion

previously         made      on     the     same        grounds        under      Rule     so (a}."} .

 However,       the     specificity            requirement             should     be      "construed

 liberally,"          and    the     earlier          Rule       SO(a}      motion        need     only

 "provide[]      the court and the nonmoving party sufficient notice

 of any alleged deficiencies in evidence." Liberty Mut. Fire Ins.

 Co. v. JT Walker Indus.,                  Inc.,      554 F. App'x 176, 185                (4th Cir.

 2014}     (citing      Singer v.          Dungan,        45     F.3d     823,    829      (4th    Cir.

                                                   24
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 25 of 31 PageID# 53201




1995)) . Here,      Steves initially argued that both damages claims

failed     because        "Jarosz' s       Scenario       Three      modeled    aggregate

damages based on alleged trade secrets no longer at issue in the

case by the time of trial, thus his testimony gives the jury no

basis for determining damages with respect to the alleged trade

secrets actually at issue in the trial." ECF No. 1572 at 6; see

also ECF No. 1576 at 1 {adopting arguments for Pierce). They did

not    elaborate on this           assertion,        but cited       to multiple other

briefs     that     did     so.    Although        cursory,       this   statement      and

supporting        citations       gave    JELD-WEN       enough   notice   to    preserve

Steves'    collective valuation argument for their subsequent Rule

50{b) motions. See Liberty Mut. Fire Ins., 554 F. App'x at 185                            &


n.5.

       Nonetheless,        neither argument           about    Jarosz' s   calculations

 is persuasive.       First,      to the extent that Steves is asking the

 Court to reconsider its previous denial of summary judgment on

 JELD-WEN' s   damages      claims,        that request has no foundation.               "A

 motion for       reconsideration is appropriate where the Court has

 patently misunderstood a party, has made a decision outside the

 adversarial issues presented to the Court by the parties, or has

 made an error not of reasoning but of apprehension. " Paasch v.

 Nat'l    Rural    Elec.    Coop.        Ass'n,    No.    115CV01638GBLMSN,      2016    WL

 10519130, at *2 {E.D. Va. May 27, 2016)                      (citing Above the Belt,

 Inc. v. Mel Bohannan Roofing,               Inc.,       99 F.R.D.    99, 101 (E.D. Va.

                                              25
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 26 of 31 PageID# 53202



1983)). But motions that simply "ask[] a court to 'rethink what

the Court had already thought through-rightly or wrongly' should

not be granted." TomTom,                 Inc. v. AOT Sys. GmbH, 17 F. Supp. 3d

545,    546   (E.D. Va.         2014)     (quoting Above the Belt,                    99 F.R.D. at

101). After the Court entered an order denying summary judgment,

ECF No. 1536, it issued an opinion that discussed and rejected

Steves'       collective          valuation        argument,             see     Second     summary

Judgment Op. at 42-49. Steves points to no new evidence making

that    analysis      improper,          or     any errors          of    apprehension.        They

clearly       disagree      with        the    Court's     decision,            but    complaining

about earlier decisions with no new arguments does them no good

here. See TomTom, 17 F. Supp. 3d at 546.

       Second,       if    Steves        believes      that        the     situation        here    is

meaningfully different than on summary judgment because of the

lower     number      of        misappropriated           trade          secrets       to   support

Scenario Three,            it   is mistaken.           Before trial,             the Court held

that    JELD-WEN's         removal       of     sixteen       alleged          trade   secrets      on

which     Jarosz      had       relied        "d[id]    not     prevent          the    jury       from

determining the applicable reasonable royalty."                                   Second Summary

Judgment       Op.   at     46.    To     the    contrary,         as     stated       in Jarosz' s

rebuttal expert report,                 "the exact number of trade secrets was

not     critical      to    Scenario          Three,     as    a     party       paying      for     an

 intellectual property license like the theoretical one here is

 typically paying for access to a field of knowledge, not knowing

                                                 26
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 27 of 31 PageID# 53203




which IP assets will be most important." Id.                             {internal quotation

marks    omitted) .     At    worst       for    JELD-WEN,         the    removal       of    those

trade    secrets    raised         "doubts about particular damages                      figures

 [that] should be resolved by the jury, not the Court, as long as

Jarosz's . . . testimony              gives      the    jury       enough       direction"        to

calculate damages. Id. at 47.

        Jarosz's trial testimony, by all appearances, gave the jury

the necessary direction.                 Although Jarosz acknowledges that the

calculations       in Scenarios           One    and Two       were       tied    to     specific

misappropriated trade secrets, he testified that the reasonable

royalty figure          in scenario Three              was    based on          "[a] 11 of       the

trade    secrets"       discussed        during       the    hypothetical         negotiation.

May 4 Trial Tr. at 1449:3-5. He then stated that one analytical

 framework underlying Scenario Three,                        the   licensing comparables

 approach, resulted in a broad range of royalty rates, from 2.5%

 to 10%.     In particular,         he described a similar license-"perhaps

 the most useful" comparable license-for the "knowledge and know-

 how and experience" related to a product used in particle board

 and fiberboard,        which "commanded a royalty rate of 3 [%'] • " That

 rate, Jarosz said, would not fluctuate based on the size of the

 IP portfolio, because the licensee was paying for its "access to

 a   business,"     not      the    precise       IP    components.         Id.     at       1454: 7-

 1455: 10.   In addition,           he    explained that            the    3%    rate    that     he

 applied     to   the     negotiation           between      JELD-WEN       and     Steves       was

                                                 27
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 28 of 31 PageID# 53204




further    supported by the                 several       qualitative       factors      that    he

considered.           See      id.     at     1456:23-1460:15.             Finally,          Jarosz

testified        that        his     recommended        reasonable        royalty       of     $9.9

million     could       be      reached       by    multiplying          that    rate    by     the

expected sale price and production volume of the doorskins that

Steves could manufacture after having acquired that license. See

id. at 1460:18-1461:11.

      Because          the     incremental          benefits       approach          incorporated

Scenarios One and Two,                  that part of             Scenario Three was made

unreliable by the jury's conclusion that only four of the trade

 secrets supporting the quantification in Scenarios One and Two

qualified        as     trade        secrets.      But,     as    Jarosz        explained,      the

 incremental benefits and licensing comparables approaches merely

 "[l)ook    at        the     [reasonable          royalty]      problem        from    different

 angles." Id. at 1452: 14. Therefore,                      even though the jury could

 not have relied fully                 (or at all)        on the incremental benefits

 approach in assessing damages for the only eight trade secrets

 it found to have been proved,                      the jury could still reasonably

 have considered Jarosz' s                  licensing comparables and qualitative

 approaches to determine a royalty rate here.

       Furthermore,            although         Jarosz's         $9. 9    million        lump-sum

 royalty was based on sixty-seven trade secrets,                                and he did not

 provide the          jury with an exact methodology for calculating a

 royalty    if        fewer        trade     secrets       were     found       to     have     been

                                                   28
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 29 of 31 PageID# 53205




misappropriated, JELD-WEN was not required to "show damages with

absolute precision or certainty." W. L.                    Gore    &   Assocs.,       Inc. v.

GI Dynamics, Inc., 872 F. Supp. 2d 883, 893                       (D. Ariz. 2012). It

unquestionably       presented       evidence         relevant         to      the     general

factors used to evaluate a reasonable royalty:                           "the commercial

setting of the       injury,     the    likely future             consequences of            the

misappropriation,       and    the     nature    and       extent       of     the    use    the

defendant put the trade secret to after misappropriation." Univ.

Computing, 504 F.2d at 538; see also Jury Instructions (ECF No.

1614),    Instruction No.       36     (outlining factors               for    the    jury to

consider    in     determining       reasonable        royalty).         Based        on    that

evidence,    the    jury    could    have      made    a    common-sense             inference

based on the number of           trade      secrets        that    it    found had been

misappropriated.      The     jury appears        to       have    settled on a             $1. 2

million     reasonable      royalty      by     determining             that     the       eight

misappropriated trade          secrets      represented approximately 11. 94%

 of the sixty-seven trade secrets underlying Scenario Three, and

 then     multiplying       Jarosz's        reasonable             royalty           by     that

 percentage. 11 This calculation obviously assumes that each of the



 11
    If, as appears to be the case, the jury took this approach,
 then the damages figure for the DTSA claim should in theory be
 slightly lower, since the jury found that only seven trade
 secrets were misappropriated for purposes of that claim.
 However, given the evidence in the record, the jury might have
 simply decided that the non-misappropriated trade secret, 59,
 did not have much value compared to the other misappropriated
                                          29
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 30 of 31 PageID# 53206




sixty-seven trade secrets would have a roughly equivalent value

for Steves in a hypothetical license negotiation.                            But Jarosz' s

testimony,        combined with        the     other evidence         pertinent       to     the

reasonable royalty assessment,                 allowed the          jury to    "value the

rights      [Steves]    has        obtained"       in    that    manner.     Id.    at      545.

Although      Steves        also     introduced          evidence    to      contest        that

valuation, the jury was well-equipped to weigh all the evidence

before      it.    As   a     result,        the    jury        reasonably     could        have

determined JELD-WEN's reasonable royalty damages with sufficient

certainty,        so that judgment as a matter of law on the DTSA and

TUTSA claims will not be granted. 12

                                        CONCLUSION

      For    the    foregoing        reasons       and    as    described herein,           with

respect     to COUNTERCLAIM DEFENDANTS STEVES AND SONS,                            INC. ,    AND

 EDWARD STEVES AND          SAM STEVES'        RENEWED MOTION FOR JUDGMENT AS A




 trade secrets. Whatever the case,                  the Court cannot second-guess
 the jury's damages approximation.
 12
   Steves continues to rely on 02 Micro International Ltd. v.
Monolithic Power Systems, Inc., 399 F. Supp. 2d 1064 (N.D. Cal.
2005) and E.I. du Pont de Nemours & Co. v. Kolen Industries,
Inc., No. 3:09CV58, 2011 WL 4625760 (E.D. Va. Oct. 3, 2011), but
those cases are no more compelling here than they were in the
summary judgment context. See Second Summary Judgment Op. at 48-
49. Although the jury did not rely on the value of "any one
group of trade secrets" here, as in 02 Micro International, see
399 F. Supp. 2d at 1078, it properly made a reasonable inference
based on Jarosz's collective valuation of the sixty-seven trade
secrets and his testimony about the relative value of individual
trade secrets in IP licenses.
                                               30
Case 3:16-cv-00545-REP Document 1779 Filed 10/04/18 Page 31 of 31 PageID# 53207



MATTER OF LAW AGAINST JELD-WEN, INC.                       (ECF No. 1627), judgment as

a matter of law will be denied as to Steves' attack on the trade

secrets damage award.               Judgment as a matter of law on the trade

secrets damage award will be denied as moot as to Sam Steves and

Edward Steves because no damage award was made as to them and

because judgment as            a    matter of law will be granted in their

favor    on    account    of       JELD-WEN's           failure     to   pursue     the    trade

secret counterclaims to judgment against them.                                 INTERVENOR JOHN

G.   PIERCE'S     RENEWED          MOTION    FOR        JUDGMENT    AS    A MATTER        OF   LAW

AGAINST       JELD-WEN,   INC.        (ECF        No.    1629)     on    the    trade   secrets

damage award will be denied as moot as to him because no damage

award was made as to him and because motion for judgment as a

matter of law will be granted in his favor on account of JELD-

WEN's     failure    to   pursue            the     trade    secret       counterclaims         to

judgment as against him.

        It is so ORDERED.



                                                      /s/
                                      Robert E. Payne
                                      Senior United States District Judge

Richmond, Virginia
Date: October 4, 2018




                                                  31
